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                                  UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION

Richard Kadrey, et al.,                          Case No. 3:23-cv-03417-VC
  Individual and Representative Plaintiffs,      PLAINTIFFS’ OPPOSITION TO META’S
                                                 MOTION TO DISMISS
        v.

Meta Platforms, Inc., et al.,
                                 Defendants.




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I.     INTRODUCTION

       Generative AI is the name given to a new category of software products like the LLaMA

language models designed by Meta Platforms, Inc. (“Meta”) that are at the center of this lawsuit. The

most distinctive feature of generative AI products like the LLaMA models is that they derive their

value from copyright infringement—and other violations of federal and state law—on a staggering and

unprecedented scale. During the phase euphemistically called training, Meta copied vast numbers of

copyrighted works in their entirety and extracted protected expression to create the LLaMA models.

LLaMA is designed to do one thing: imitate the expression found in the infringed works.

       A generative AI system like LLaMA does not “learn like a human”—or in Meta’s tender

phrasing, “[j]ust as a child learns language.” MTD at 1. This metaphor is deliberately misleading.

LLaMA is not human. It is software that Meta has designed to copy the copyrighted works of a class

of millions of individual creators—including Plaintiffs—without consent, credit, or compensation.

Plaintiffs seek redress for Meta’s illegal LLaMA models.

       Tellingly, Meta has not moved to dismiss Plaintiffs’ direct copyright-infringement claim based

on training LLaMA with copyrighted works. Nevertheless, Meta still tries to leverage its motion to

pre-litigate future issues. For instance, Meta seeks to rewrite Ninth Circuit copyright law by injecting

“substantial similarity” as an element of Plaintiffs’ copyright claim. But as Plaintiffs allege, this case

is about direct digital copying of entire works. As a matter of law, substantial similarity serves as a

method of showing copying where evidence of direct copying is unavailable. Meta also telegraphs a

future fair-use argument. MTD at 2. But fair use is an affirmative defense. It is improper at this stage.

       Where Meta actually contests the sufficiency of Plaintiffs’ allegations, its arguments fall short.

Meta argues that Plaintiffs’ vicarious-infringement claim fails. But Plaintiffs have set forth ample facts

supporting each element of the claim: Plaintiffs have alleged infringement by third parties, i.e.,

LLaMA’s users; Meta’s right to stop the conduct; and Meta’s financial interest in the infringement.

This is also true for Plaintiffs’ DMCA claim: Plaintiffs have alleged facts demonstrating that Meta

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designed LLaMA to remove and alter CMI with knowledge that the CMI’s removal enabled further

infringement. And Plaintiffs state valid California law claims that are not preempted. Meta’s motion to

dismiss should be denied.

II.      FACTUAL BACKGROUND

         Plaintiffs Richard Kadrey, Sarah Silverman, and Christopher Golden are accomplished book

authors. ¶¶ 9-11.1 Each hold registered copyrights in one or more books. Kadrey wrote Sandman Slim,

Aloha from Hell, The Everything Box, Kill the Dead, The Perdition Score, and The Wrong Dead Guy,

among others. ¶ 9 and Ex. A. Silverman wrote The Bedwetter. ¶ 10 and Ex. A. Golden wrote Ararat,

Dead Ringers, The Pandora Room, and Snowblind, among others. ¶ 11 and Ex. A. Plaintiffs hold

copyright registrations for these works. ¶ 12 & Ex. A. Each of Plaintiffs’ books include copyright-

management information, such as the books’ title, ISBN number, their name, and terms of use. ¶ 20.

         Meta is a “diversified internet company” that “creates and distributes artificial-intelligence

software products.” ¶ 16. Certain generative-AI products created and distributed by Meta are known as

large language models (“LLMs”). ¶ 18. Meta calls its set of large language models “LLaMA.” ¶ 18.

An LLM is “AI software designed to parse and emit natural language.” ¶ 18. An LLM is created or

“trained” by “copying massive amounts of text from various sources and feeding these copies into the

model.” ¶ 18. During training, the LLM “extracts expressive information” from each textual work in

the training dataset. ¶ 18. At the end of this process, the LLM can “emit convincing simulations of

natural written language as it appears in the training dataset.” ¶ 18.

         Books comprise a large part of Meta’s training dataset for its LLaMA models. ¶¶ 23–30.

Among other sources, Meta has trained LLaMA on a dataset of books called “Books3.” ¶ 23. The

Books3 dataset “comprises 108 gigabytes of data.” ¶ 25. According to “[t]he person who assembled



1
 “¶ __,” “Ex. __,” and “line __” citations are to the Complaint, Kadrey v. Meta Platforms, Inc., No.
23-cv-03417 (N.D. Cal. July 7, 2023), ECF No. 1 unless otherwise indicated.

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the Books3 dataset,” the 196,640 books in the dataset were copied from a website called Bibliotik.

¶ 28. Bibliotik is “one of a number of notorious ‘shadow library’ websites” that are “flagrantly illegal”

repositories of copyrighted material. ¶ 27. At the time Plaintiffs filed their complaint, the Books3

dataset was available for download from multiple websites. ¶¶ 28–29. Plaintiffs are aware that

“[m]any of [their] books appear in the Books3 dataset”. ¶ 30 & Ex. B. The works found in the Books3

dataset, including Plaintiffs’, were copied in their entirety, without consent. ¶¶ 38–40.

III.   ARGUMENT

       A complaint attacked by a Rule 12(b)(6) motion to dismiss “does not need detailed factual

allegations.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). Rule 8(a) requires only a “short

and plain statement” of facts supporting a claim. Fed. R. Civ. P. 8(a); see Twombly, 550 U.S. at 569

n.14, 570. The statements alleged in the complaint must provide “the defendant[s] fair notice of what

. . . the claim is and the grounds upon which it rests.” Twombly, 550 U.S. at 545; see also Swierkiewicz

v. Sorema N.A., 534 U.S. 506, 515 (2002) (“Indeed it may appear on the face of the pleadings that a

recovery is very remote and unlikely but that is not the test.”). “The court must construe the complaint

in the light most favorable to the plaintiff, taking all her allegations as true and drawing all reasonable

inferences from the complaint in her favor.” Doe v. United States, 419 F.3d 1058, 1062 (9th Cir.

2005). Moreover, “a complaint should not be dismissed for failure to state a claim unless it appears

beyond doubt that the plaintiff can prove no set of facts in support of his claim which would entitle

him to relief.” Conley v. Gibson, 355 U.S. 41, 45-46 (1957). Dismissal “is proper only where there is

no cognizable legal theory or an absence of sufficient facts alleged to support a cognizable legal

theory.” Davidson v. Kimberly-Clark Corp., 889 F.3d 956, 965 (9th Cir. 2018) (citation omitted).

       A.      Meta Does Not Dispute that Plaintiffs Have Adequately Alleged a Direct
               Copyright-Infringement Claim Based on Meta Copying Plaintiffs’ Books for
               Training

       The core claim in Plaintiffs’ complaint is Count 1, for direct copyright infringement. Plaintiffs

allege two theories of direct infringement by Meta: one based on Meta training LLaMA with Plaintiffs’

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works, and a second based on LLaMA itself being an infringing derivative work. ¶¶ 37–41. Meta has

not moved to dismiss Plaintiff’s claim as to training. MTD at 6. But Meta still accuses Plaintiffs of a

“fundamental misunderstanding of copyright law.” Id. Meta then offers the Court a mini-treatise on

copyright law plainly intended to pre-litigate future arguments. See MTD at 6–9.

               1.      Copyright infringement does not require a showing of “substantial
                       similarity” in cases that involve direct copying

       Meta is wrong that “[t]o prove infringement, one must show substantial similarity.” MTD at 8.

That is not the law. “‘Substantial similarity’ is not an element of a claim of copyright infringement.

Rather, it is a doctrine that [allows the finder of fact to determine or] adjudicate whether copying of

the ‘constituent elements of the work that are original’ actually occurred when an allegedly infringing

work appropriates elements of an original without reproducing it in toto.” Range Rd. Music, Inc. v. E.

Coast Foods, Inc., 668 F.3d 1148, 1154 (9th Cir. 2012). This holding is the law of this Circuit and

binds the Court. District courts throughout this circuit have cited and followed this holding with

approval and followed it. See, e.g., YellowCake, Inc. v. DashGo, Inc, No. 1:21-CV-0803 AWI BAM,

2022 WL 172934, at *4 (E.D. Cal. Jan. 19, 2022); Ross-Nash v. Almond, No. 2:19-cv-00957-APG-

NJK, 2020 WL 6947691, at *2 (D. Nev. Oct. 28, 2020); Cellular Accessories for Less, Inc. v. Trinitas

LLC, 65 F. Supp. 3d 909, 915-16 (C.D. Cal. 2014); Bravado Int’l Grp. Merch. Servs., Inc. v. Zhao, No.

CV 13-01032 MMM (JCGx), 2014 WL 12579810, at *7 (C.D. Cal. June 20, 2014). This principle is

observed with approval in courts outside this Circuit as well. See, e.g., KaZee, Inc. v. Callender, No.

4:19-CV-31-SDJ, 2020 WL 994832, *7 (E.D. Tex. Mar. 2, 2020) (denying Rule 12(b)(6) challenge in a

“case that involves direct evidence of copying”).

       Thus, in cases that involve direct, wholesale digital copying of copyrighted works—as

Plaintiffs allege here—the substantial-similarity test is a “red herring” because “the proper question is

whether [infringement] occurred vel non.” Range Rd. Music, 668 F.3d at 1154; see also Briggs v.

Blomkamp, 70 F. Supp. 3d 1155, 1163-64 (N.D. Cal. 2014) (“Absent evidence of direct copying,” a


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plaintiff must show access and substantial similarity). Plaintiffs’ first theory of direct infringement

concerns training. Meta directly copied Plaintiffs’ books and fed them to its language models as

training data. ¶¶ 37–40. Under this theory, no showing of substantial similarity is necessary, because

the works were directly copied in their entirety, without consent of the authors. ¶ 40; Range Rd. Music,

668 F.3d at 1154. Meta’s insistence on imposing a substantial-similarity test is calculated to distract

from its own culpability. Id.

                2.      Plaintiﬀs have suﬃciently alleged a direct-infringement claim based on
                        LLaMA being an infringing derivative work

         Meta’s argument that Plaintiffs’ second theory of direct infringement is not sufficiently alleged,

is equally off base. Plaintiffs adequately allege a claim that Meta’s LLaMA language models are

themselves infringing derivative works.

         Under the Copyright Act, a work qualifies as a derivative work if it has “recast, transformed, or

adapted” an existing copyrighted work. 17 U.S.C. § 101; Jarvis v. K2 Inc., 486 F.3d 526, 531 (9th Cir.

2007). Plaintiffs have alleged during training, the LLaMA language model “copies each piece of text

in the training dataset” and then “progressively adjusts its output to more closely resemble” expression

extracted from the training dataset. ¶ 18. By so doing, the language model can eventually “emit

convincing simulations of natural written language as it appears in the training dataset.” ¶ 18. Put

another way—the entire purpose of LLaMA is to imitate copyrighted expression. Because Meta’s

“LLaMA language models cannot function without the expressive information extracted from

Plaintiffs’ Infringed Works2 and retained” inside them, “these LLaMA language models are themselves

infringing derivative works.” ¶ 41. As discussed above, no showing of substantial similarity is

necessary because Plaintiffs have specifically alleged the expressive information from the copyrighted

works was directly copied by the LLaMA language models. Range Rd. Music, 668 F.3d at 1154. ITC



2
 “Infringed Works” refers to Plaintiﬀs’ books currently known to exist in the Books3 dataset. ¶ 30 and
Exhibit B.

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Textile Ltd. v. Wal-Mart Stores Inc., No. CV122650JFWAJWX, 2015 WL 12712311 (C.D. Cal. Dec.

16, 2015).

       Meta mischaracterizes Plaintiffs’ allegations when it contends that Plaintiffs assert “that a

‘derivative work’ encompasses ‘any work based on a copyrighted work,’ irrespective of substantial

similarity.” MTD at 8 (citing Litchfield v. Spielberg, 736 F.2d 1352, 1357 (9th Cir. 1984)). That is not

what Litchfield says, nor what Plaintiffs claim. Indeed, consistent with Range Road Music, Litchfield

says that “[a] work is not derivative unless it has been substantially copied from the prior

work.” Litchfield, 736 F.2d at 1357 (emphasis added). Consistent with Litchfield, Plaintiffs specifically

allege direct digital copying of their entire works, and Meta has not argued otherwise. First, their

works were ingested in their entirety during training. ¶ 38–40. Next, Meta created LLaMA that

extracted expressive information from the training data. ¶¶ 18–19, 41. LLaMA is therefore itself an

infringing derivative work. ¶ 41; see also Jarvis, 486 F.3d at 531.

       Litchfield can be distinguished on other grounds as well: it was an indirect-copying case

relying on substantial similarity. Where the evidence shows direct copying, “the fact that the final

result of defendant’s work differs from plaintiff’s work is not exonerating.” ITC Textile Ltd., 2015 WL

12712311, at *5. In ITC Textile, the plaintiffs created copyrighted images that were directly copied and

later altered as part of certain derivative works (namely garments). Id. The court rejected the

defendant’s invitation to apply a substantial-similarity analysis, because the images on the garments

had originated from direct copying. Id. In fact, a difference between the works “can show infringement

of multiple exclusive rights, such as unauthorized reproduction and unauthorized creation of a

derivative work.” Id.

                        a.     LLaMA copies the training dataset not to learn “facts or ideas”
                               from it, but to extract and then imitate the copyrighted expression
                               therein

       The Court should reject Meta’s attempt to distract it by relying on the “fact/expression

dichotomy,” the longstanding principle that copyright protects expression, not facts or ideas, which

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can be taken from copyrighted works without contravening the author’s exclusive rights. MTD at 7

(citing Feist Publ’n Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 350 (1991)). Meta argues “the most

plausible read of Plaintiffs’ allegations is that” what has been “extracted and analyzed” from Plaintiffs’

work is merely “information” that “falls outside the scope of copyright.” MTD at 9. First, Meta

misstates the Rule 12 standard. “The court must construe the complaint in the light most favorable to

the plaintiff, taking all her allegations as true and drawing all reasonable inferences from the complaint

in her favor.” Doe, 419 F.3d at 1062. What Meta deems to be the “most plausible read” is not relevant

at this stage. Second, Meta’s argument ignores Plaintiffs’ allegations, Meta’s tacit admission that they

copied Plaintiffs’ copyrighted works in their entirety, and therefore it is not an issue to be decided on

the pleadings.

       Plaintiffs explicitly allege that their protected, copyrighted expression—not merely unprotected

facts and ideas—have been copied from them. Plaintiffs allege that during training, the LLaMA

language model “copies each piece of text in the training dataset” and then “progressively adjusts its

output to more closely resemble” expression extracted. ¶ 18. By so doing, the language model can

“emit convincing simulations of natural written language as it appears in the training dataset.” ¶ 18.

Because Meta has directly copied Plaintiffs’ entire copyrighted works, it is certain that Meta has

harvested protected expression. Indeed, this is precisely why, in the Ninth Circuit, substantial

similarity is not required in direct-copying cases like this one. Range Rd. Music, 668 F.3d at 1154.

Moreover, the entire purpose of LLaMA is to imitate copyrighted expression. Meta’s contention

that LLaMA merely reports metadata about the expression ignores Plaintiffs’ well pleaded allegations,

and the reality of how LLaMA actually works.

                 3.    Meta’s fair-use defense is premature

       Meta tepidly tries to utilize a fair-use argument in its motion by making a very broad and very

conclusory claim that “[u]se of texts to train LLaMA . . . is transformative by nature and quintessential

fair use”. MTD at 2. Though Meta concedes that issue “will be for another day” (MTD at 2), Meta

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cannot resist the temptation. Meta repeatedly cites leading fair use decision, Authors Guild v. Google,

Inc., 804 F.3d 202 (2d Cir. 2015). MTD at 7, 9. While the fair use doctrine provides a defense in

certain cases, it is nonetheless a limited feature of copyright law. 17 U.S.C. § 107; Andy Warhol

Found. for the Visual Arts Inc. v. Goldsmith, 143 S.Ct. 1258, 1282 (2023) (rejecting construction of

fair use that “would swallow the copyright owner’s exclusive right to prepare derivative works”).

Importantly, for present purposes, “fair use is an affirmative defense.” Campbell v. Acuff-Rose Music,

Inc., 510 U.S. 569, 590 (1994). Like other defenses, it is “inappropriate to resolve on a motion to

dismiss.” Ferrero S.p.A. v. Imex Leader, Inc., No. 817CV02152DOCKESX, 2018 WL 11346538, at

*15 (C.D. Cal. May 8, 2018). Contrary to what Meta would like the law to be, no U.S. court has

squarely ruled that training an AI model with copyrighted expression is fair use. Indeed, just last

month, a district court ruling on dueling summary-judgment motions, held that the question of whether

the use of copyrighted material to train a generative AI model is fair use “must go to a jury.” Thomson

Reuters Enter. Ctr. GMBH v. Ross Intel. Inc., __ F. Supp. 3d __, No. 1:20-CV-613-SB, 2023 WL

6210901, at *6 (D. Del. Sep. 25, 2023) (interpreting Authors Guild v. Google, among others).

               4.         is Court must reject Meta’s outrageous argument that its copyright
                       infringements are so vast that Meta cannot be held accountable

       Meta repeatedly argues that Plaintiffs’ works represent a small contribution to LLaMA’s

training data. See, e.g., MTD at 2 & 5 (asserting that “[Plaintiffs’] books comprised less than a

millionth of the training data”). Meta seems to suggest that having infringed so many copyrights, Meta

should not be held accountable for any infringement. Meta is simply wrong.

       Even what Meta characterizes as a fraction of its training dataset is staggering. The Books3

dataset that Meta used for training contains 196,640 titles, representing 108 gigabytes of data. ¶¶ 25,

28. In its motion, Meta claims that this represents “only 4.5% of training text.” MTD at 5. On its face,

this means LLaMA training dataset is roughly the size of 4.37 million books (≈ 196,640 / 4.5%).

       Nothing in U.S. law precludes Meta from being held to account for every copyrighted work it


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has infringed. Meta cites no authority for this argument, nor can it—the argument fails as a matter of

law.

       B.      Plaintiffs Adequately Allege a Claim for Vicarious Copyright Infringement

       Plaintiffs also assert a claim for vicarious liability for the copyright infringement of others.

This requires allegations of “direct infringement” by a third party where the defendant “declin[es] to

exercise a right to stop or limit” the infringement and retains “a direct financial interest in the

infringing activity.” Perfect 10, Inc. v. Visa Int’l Serv. Ass’n, 494 F.3d 788, 802 (9th Cir. 2007).

       Direct third-party infringement. Plaintiffs allege that “every output of the LLaMA language

models is an infringing derivative work.” ¶ 44. Because these infringing outputs are initiated by third

parties—namely, users of Meta’s language models—these outputs constitute the predicate direct

infringements. See China Cent. Television v. Create New Tech., (HK) Ltd., No. CV 15-01869 MMM

(AJWx), 2015 WL 12732432, at *11 (C.D. Cal. Dec. 7, 2015) (claim for vicarious infringement found

where “[defendants’] entire business model is based on generating profit from widespread

infringement of plaintiffs’ programming”).

       Meta argues that Plaintiffs’ output theory of infringement necessarily fails because Plaintiffs

must “identify specific examples of directly infringing works . . . for purposes of assessing substantial

similarity.” MTD at 10 (citing Becton, Dickinson & Co. v. Cytek Biosci. Inc., No. 18-CV-00933-MMC,

2020 WL 1877707, at *6–7 (N.D. Cal. Apr. 15, 2020)). But Meta’s persistent preoccupation with

substantial similarity is still a “red herring” and remains wrong as a matter of law. See Range Rd.

Music, 668 F.3d at 1154. Meta does not even mention, let alone grapple with, Ninth Circuit direct-

copying cases like Range Road Music and ITC Textile.

       Meta’s right to stop the infringing conduct. Meta wrongly argues that Plaintiffs have failed

to make out this element of the claim. MTD at 10. But Plaintiffs allege that “Meta . . . creates and

distributes artificial-intelligence software products.” and that “LLaMA is a set of large language

models created and maintained by” Meta. ¶¶ 1, 16. Plaintiffs allege in detail various facts—partly

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gleaned from a paper published by Meta itself—about Meta’s selection of training data for its language

models. ¶¶ 21–30. Because Meta created and released the LLaMA language models, and exclusively—

and plausibly—controls how all its products work, Meta has the “right to stop” the infringement. For

instance, Meta could have ensured its language models were only trained on licensed training data, or

simply turned the models off. See, e.g., Range Rd. Music, 668 F.3d at 1153 (finding that plaintiff

“pleaded specific facts to raise a plausible inference” that defendants exercised control.

       Meta’s financial interest in the infringing activity. Plaintiffs have alleged that Meta used

their copyrighted works as fodder to train the LLaMA models, which were then commercialized and

broadly promoted. ¶¶ 37–41. This is sufficient to allege this element. See Thomson Reuters, 2023 WL

6210901, at *6 (“Ross does not contest that it had a financial interest in the alleged copies—it used the

Bulk Memos to train AI, its core product.”). But Plaintiffs allege more—Plaintiffs allege that “Meta

has in fact distributed the LLaMA models . . . and has benefited financially from these acts” (¶ 32) and

that LLaMA is being released commercially. ¶ 35. That is enough. See Perfect 10, Inc. v. Giganews,

Inc., 847 F.3d 657, 673 (9th Cir. 2017) (“[f]inancial benefit exists where the availability of infringing

material acts as a draw for customers.”); China Cent. Television, 2015 WL 12732432, at *11.

       Meta attempts to dodge the fact it has a financial interest in LLaMA by claiming that the initial

LLaMA models were released under a noncommercial license. MTD at 12; ¶ 31. Even if true, that

does not negate the financial interest and business purpose of the product. Also, this is in the nature of

a defense and a proper subject of discovery. In fact, “Meta has not disclosed what criteria” it used to

share the LLaMA models, “nor who has actually received them, or whether Meta has in fact adhered to

its stated criteria.” ¶ 32. Furthermore, Plaintiffs alleged that “Meta plans to make the next version of

LLaMA commercially available”. ¶ 35. That did turn out to be true: in July 2023, Meta released

LLaMA 2 “for research and commercial use.” See https://ai.meta.com/llama/.




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       C.      Plaintiffs Adequately Allege a Claim Under the DMCA (17 U.S.C. § 1202)

       Section 1202(b) of the DMCA imposes liability for the removal or alteration of copyright

management information (“CMI”). 17 U.S.C. § 1202(b); Doe 1 v. GitHub, Inc., __ F. Supp. 3d __, No.

22-CV-06823-JST, 2023 WL 3449131, at *11 (N.D. Cal. May 11, 2023). Section 1202(c) provides, in

pertinent part, “[a]s used in this section, the term ‘copyright management information’ means any of

the following information conveyed in connection with copies or phonorecords of a work or

performances or displays of a work, including in digital form, except that such term does not include

any personally identifying information about a user of a work or of a copy, phonorecord, performance,

or display of a work[.]” Section 1202(c), which describes protected categories of CMI, has been

interpreted broadly. See Williams v. Cavalli, No. CV 14-06659-AB JEMX, 2015 WL 1247065, at *3

(C.D. Cal. Feb. 12, 2015). The pleading burden under the DMCA is low. See Mollman v. Zoetop Bus.

Co., No. CV 22-4128 PA (GJSx), 2022 WL 17207103, at *3 (C.D. Cal. Sep. 16, 2022) (burden is “not

as exacting” at the pleading stage).

       “Knowledge or intent on the part of the defendant is required for liability under . . . § 1202(b).”

Merideth v. Chi. Trib. Co., LLC., No. 12 C 7961, 2014 WL 87518, at *2 (N.D. Ill. Jan. 9, 2014).

Generally, “‘direct proof’ of one’s specific wrongful intent is ‘rarely available’” and such intent can be

inferred through circumstantial evidence. Friedman v. Live Nation Merch., Inc., 833 F.3d 1180, 1189

(9th Cir. 2016). Therefore, for purposes of pleading § 1202(b) scienter, “‘intent, knowledge, and other

conditions of a person’s mind may be alleged generally.’” Logan v. Meta Platforms, Inc., 636 F. Supp.

3d 1052, 1063 (N.D. Cal. 2022) (citations omitted). Further, “[n]othing in § 1202 of the DMCA

suggests that registration is a precondition to a lawsuit.” See Med. Broad. Co. v. Flaiz, No. CIV.A. 02-

8554, 2003 WL 22838094, at *3 (E.D. Pa. Nov. 25, 2003).

       A DMCA claim does not require proof of infringement. MDY Indus., LLC v. Blizzard Ent., Inc.,

629 F.3d 928, 950-52 (9th Cir. 2010) (rejecting infringement nexus requirement for DMCA claims).

Thus, fair use is not a defense. See Murphy v. Millennium Radio Grp., CIV.A. 08-1743 MAS, 2015

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WL 419884, at *5 (D.N.J. Jan. 30, 2015); see also Diamondback Indus., Inc. v. Repeat Precision, LLC,

No. 4:18-CV-902-A, 2019 WL 5842756, at *2 (N.D. Tex. Nov. 7, 2019).

       A DMCA claim requires the plaintiff to plead: “(1) the existence of CMI on the infringed work,

(2) removal or alteration of that information, and (3) that the removal or alteration was done

intentionally.” O’Neal v. Sideshow, Inc., 583 F. Supp. 3d 1282, 1286-87 (C.D. Cal. 2022). The plaintiff

must also plead scienter, which need not be alleged with specificity. Izmo, Inc. v. Roadster, Inc., No.

18-CV-06092-NC, 2019 WL 13210561, at *3-4 (N.D. Cal. Mar. 26, 2019); Fed. R. Civ. P. 9(b).

               1.      Plaintiﬀs have pleaded all the elements of a DMCA § 1202(b) violation

       As set forth below, Plaintiffs have pleaded all the requisite elements of a DMCA violation.

       Existence of CMI. Plaintiffs specifically allege that their works contained several types of

CMI. ¶¶ 20, 48. Each is recognized as CMI. See 17 U.S.C. § 1202(c)(2), (3), (6); see also Logan, 636

F. Supp. 3d at 1063 (giving examples of CMI). Additionally, Plaintiffs’ CMI was incorporated into

their works, and each includes a copyright notice. ¶¶ 20, 48.

       Distribution of CMI. Plaintiffs allege that Meta “falsely claim[s] it has sole copyright in the

LLaMA language models.” ¶ 51. In so doing, it distributes false CMI.

       Distribution of copied works. Plaintiffs allege Meta distributed copies of the works. ¶ 50 The

point of LlaMA is to parse and emit natural language in response to user queries. ¶ 18. If a user asks

for a summary of a work, LlaMA will comply, and it does so without reproducing Plaintiffs’ CMI.

       Knowing removal of CMI. Plaintiffs allege that Meta knowingly removed or altered CMI

from Plaintiffs’ Works. Indeed, that was the point, as Plaintiffs allege the training process by design

does not preserve any CMI. ¶ 49.

       Knowingly enabling infringement. Plaintiffs allege Meta knew or had reasonable grounds to

know that its distribution would induce, enable, or conceal an infringement, either by itself or its users.

“[A] defendant’s awareness that distributing copyrighted material without proper attribution of CMI

will conceal his own infringing conduct satisfies the DMCA’s second scienter requirement.” Mango v.

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Buzzfeed, Inc., 970 F.3d 167, 172 (2d Cir. 2020); see also id. (“Section 1202(b)(3) also encompasses

‘an infringement’ that, upon distribution ‘will . . . conceal’ the fact of that infringement.”) (emphasis

added). This so-called second scienter element is evidenced by Meta’s concealment of “the fact that

every output from the LlaMA language models is an infringing derivative work, synthesized entirely

from expressive information found in the training data.” ¶ 52. Meta raises several challenges to

Plaintiﬀs’ well pleaded allegations. Each fail.

         First, Meta’s argument that DMCA §1202 requires copies be identical is wrong. MTD at 14-

15. §1202 has no requirement that the copy from which CMI is removed be identical to the original

work. See ICONICS, Inc. v. Massaro, 192 F. Supp. 3d 254, 272 (D. Mass. 2016) (“[T]he deﬁnition of

CMI neither states nor implies that CMI can only exist with regard to the full version of a work.”).

Critically, as revealed by a careful reading of the cases cited by Meta, identicality is only a proxy for

cases where copying needed to be inferred. 3 Again, Plaintiﬀs allege that their Works were directly

copied, CMI included.4 No inference is necessary to conclude that CMI was removed or altered.

         Second, Meta argues with respect to Plaintiffs’§1202(b)(1) claim, “the process that Plaintiffs

describe in the Complaint would, if anything, constitute an omission of CMI, not a ‘removal.’” MTD




3
  For example, in Frost-Tsuji Architects v. Highway Inn, Inc., Civil No. 13-00496 SOM/BMK, 2015
WL 263556, at *3 (D. Haw. Jan. 21, 2015), as revealed by that court’s earlier summary judgment
opinion, the architectural plans at issue “could have been created by redrawing Frost-Tsuji’s plans and
not including Frost-Tsuji’s copyright management information[.]” Frost-Tsuji Architects v. Highway
Inn, Inc., No. CIV. 13-00496 SOM, 2014 WL 5798282, at *5 (D. Haw. Nov. 7, 2014). Similarly, in
Dolls Kill, Inc. v. Zoetop Bus. Co., No. 22-cv-01463-RGK-MAA, 2022 WL 16961477 (C.D. Cal. Aug.
25, 2022), the court plainly stated that “[t]he diﬀerences between the parties’ products undercut any
inference that Defendants removed or altered Plaintiﬀ’s CMI.” Id. at *4.
4
  Similarly, Meta’s reliance on cases holding that the DMCA “does not apply to CMI attached to a
work other than that of the copyright owner” (MTD at 13) likewise fails. Here, Plaintiﬀs have alleged
that the CMI is attached in the work and copied by Meta as part of the training of LLaMA. ¶ 49. Meta
also claims that Plaintiﬀs’ Section 1202 (b)(3) claim fails because Plaintiﬀs’ claim is a “charge that
Meta somehow unlawfully removed CMI from LLaMA.” MTD at 16. For the same reasons, Meta’s
arguments fail. e DMCA prohibits Meta from removing the CMI when copied by Meta. As Meta
concedes, none of LLaMA’s output includes or contains removed CMI.

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at 14-15. The law makes no such distinction. Plaintiffs do not merely allege that parts of their books

were copied. On the contrary, Plaintiffs allege that their works were copied in their entirety—CMI

included. ¶¶ 18, 38. CMI was not merely omitted as Meta claims. Falkner v. Gen. Motors LLC, 393 F.

Supp. 3d 927 (C.D. Cal. 2018) is inapplicable here. This is not simply not a case where Plaintiffs

allege a “failure to include” but rather, that the CMI was copied as part of the training process and then

removed when LLaMA outputs.

          ird, Meta’s argument that Plaintiﬀs did not adequately allege that Meta acted “with

knowledge or reason to know that it would cause or facilitate infringement” must be rejected. MTD at

15; see also MTD at 14 (arguing DMCA claim fails due to failure to plead “the requisite scienter”).

Meta argues “speciﬁc allegations as to how identiﬁable infringements ‘will be aﬀected are necessary.”

MTD at 15 (italics in original; citing Stevens v. Corelogic, Inc., 899 F.3d 666, 674 (9th Cir. 2018)).

       At the motion to dismiss stage, a plaintiff need only “allege sufficient facts to support the

reasonable inference that the defendant ‘knew or had a reasonable basis to know that the removal or

alteration of CMI . . . w[ould] aid infringement.” Doe 1, 2023 WL 3449131, at *12 (quoting Harrison

v. Pinterest, Inc., No. 20-cv-05290-EJD, 2022 WL 4348460, at *5 (N.D. Cal. Sept. 19, 2022)); see also

Stevens, 899 F.3d at 675 (9th Cir. 2018). Plaintiffs’ allegations plainly support the reasonable inference

Meta knew that their removal of CMI would aid infringement. Meta chose what to train its models on.

Thus, it can be inferred that it had knowledge about the provenance of that material. ¶¶ 49-52. By

choosing the materials to input, Meta made an intentional decision, to ensure LLaMA’s output was

stripped of any relevant CMI. ¶¶ 49-52. Further, absent CMI, users of LLaMA would have no idea that

LLaMA’s output (and any subsequent use of that output) was infringing. This is precisely the likely

infringement the DMCA was aimed to prevent by forbidding removal of CMI. See GC2 v. Int’l Game

Tech., IGT, Doubledown Interactive LLC, 391 F. Supp. 3d 828, 842 (N.D. Ill. 2019) (explaining jury

could reasonably infer knowledge of likely infringement where defendant repeatedly caus[ed] “the



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unlawfully removed or manipulated copyright management information to again be distributed to the

public.”).

        D.        Plaintiffs Allege Valid State Law Claims

                  1.     Plaintiﬀs state law claims are not preempted

        Meta argues that Plaintiﬀs’ negligence and unjust enrichment claims are preempted by Section

301 of the Copyright Act. MTD at 18-19; see also 17 U.S.C. § 301(a). Meta is wrong. In the Ninth

Circuit state law claims concerning the unauthorized use of software’s end-product are not within the

rights protected by the federal Copyright Act. Altera Corp. v. Clear Logic, Inc., 424 F.3d 1079, 1090

(9th Cir. 2005). A court in this very district has reaﬃrmed that principle regarding AI training

speciﬁcally. See Doe 1, 2023 WL 3449131, at *11 (“Plaintiﬀs are correct that state law tort claims

concerning unauthorized use are not preempted by the Copyright Act.”); see also        omson Reuters,

2023 WL 6210901, at *12 (“Restricting a user’s use of copyrighted material is diﬀerent from limiting

the user’s ability to copy it.   e latter is covered, and thus preempted, by the Copyright Act.”). As

plainly alleged in their Complaint, Plaintiﬀs’ state law claims are based on use, which is not an

exclusive right under the Copyright Act. E.g., ¶ 4 & lines 9:10, 9:14, 10:9-11.    e rights implicated by

the unauthorized misuse of Plaintiﬀs’ intellectual property to train AI go well beyond the copying and

distribution of their works and involves denying Plaintiﬀs the ability to control the uses of their

intellectual property and their own names.

             e Ninth Circuit uses a two-part test to analyze whether the Copyright Act preempts a state

law claim. Maloney v. T3Media, Inc., 853 F.3d 1004, 1010 (9th Cir. 2017); Laws v. Sony Music Ent.,

Inc., 448 F.3d 1134, 1139 (9th Cir. 2006). Courts must ﬁrst “[d]ecide ‘whether the “subject matter” of

the state law claim falls within the subject matter of copyright as described in 17 U.S.C. §§ 102-103.’

Second, assuming it does, [courts] determine ‘whether the rights asserted under state law are

equivalent to the rights contained in 17 U.S.C. § 106, which articulates the exclusive rights of

copyright holders.’” Maloney, 853 F.3d at 1010 (citations omitted, quoting Laws, 448 F.3d at 1137-

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38). “‘To survive preemption, the state cause of action must protect rights which are qualitatively

diﬀerent from the copyright rights,’ and the ‘state claim must have an extra element which changes the

nature of the action.’” Software Freedom Conservancy, Inc. v. Vizio, Inc., No. 8:21-cv-01943, 2022

WL 1527518, at *3 (C.D. Cal. May 13, 2022) (citation omitted).

          e gravamen of Plaintiﬀs’ state law claims is the unauthorized use of Plaintiﬀs’ books for

training LLaMA. ¶ 4 & lines 9:10, 9:14, 10:9-11. As Plaintiﬀs allege, Meta has wrongly taken

Plaintiﬀs’ books and used them to train LLaMA without their consent. Id. As Plaintiﬀs’ Complaint

alleges, it is that use that underlies Plaintiﬀs’ California law claims and violates their rights; not any of

the other exclusive rights enumerated in the Copyright Laws. 17 U.S.C. § 106; see also Doe 1, 2023

WL 3449131, at *11 (“‘      e [exclusive] rights protected under the Copyright Act include the rights of

reproduction, preparation of derivative works, distribution, and display’”) (quoting Ryan v. Editions

Ltd. W., Inc., 786 F.3d 754, 760 (9th Cir. 2015)).

       Doe 1 v. GitHub, Inc., 2023 WL 3449131, a case involving generative AI products from this

district, is instructive. Doe 1 concerned programmers who were challenging defendants’ AI code-

generating models. Id. at *1–2. The Doe 1 defendants argued that state-law claims were preempted by

the Copyright Act. Id. at *10. The court agreed with the plaintiffs that “state law tort claims concerning

unauthorized use are not preempted by the Copyright Act” but found that Doe 1 plaintiffs’ state law

claims were preempted because the Doe 1 plaintiffs “d[id] not allege that Defendants’ use of Plaintiffs’

code for training purposes violated their rights,” but rather “base[d] their unjust enrichment claim on

Defendants’ reproduction of Plaintiffs’ code as output and Defendants’ preparation of derivative

works, both of which are rights protected under the Copyright Act.” Id. at 11.

       In contrast to copyright claims involving the reproduction and distribution of Plaintiﬀs’ work,

Plaintiﬀs seek redress under state law for the unauthorized use of Plaintiﬀs’ works to train and be

incorporated into LLaMA.       e rights Plaintiﬀs seek to vindicate under state law claims diﬀer from

those protected by the Copyright Act. G.S. Rasmussen & Assocs., Inc. v. Kalitta Flying Serv., Inc., 958

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F.2d 896, 904 (9th Cir. 1992) (ﬁnding no preemption where “Rasmussen claims a much diﬀerent

interest [than those in the Copyright Act], however:      e right to use the STC [the work]”); see also

Venegas-Hernandez v. Asociacion de Compositores y Editores De Musica Latinoamericana

(ACEMLA), 424 F.3d 50, 58 (1st Cir. 2005) (suggesting unjust enrichment as one such cause of action

“where there is an unlawful authorization that causes harm without a listed infringing act”).

               2.      Plaintiﬀs state a claim under California’s Unfair Competition Law (Cal.
                       Bus. & Prof. Code, §§ 17200 et seq.)

       Meta’s argument that Plaintiffs fail to state a claim under California’s Unfair Competition Law

fails as well. MTD at 17-18. As Meta acknowledges, a UCL claim can be based on either “unlawful”,

“unfair”, or “fraudulent” business practices. MTD at 17. Under the UCL, a Plaintiff must allege: (1)

establish a loss or deprivation of money or property sufficient to qualify as injury in fact, i.e.,

economic injury, and (2) show that the economic injury was caused by the unfair business practice.

Kwikset Corp. v. Super. Ct., 51 Cal.4th 310, 322 (2011). Meta characterizes Plaintiffs’ UCL claims as

only addressing the unlawful prong and “off hand[edly]” addressing the fraudulent prong. (MTD at

17-18). This misreads Plaintiffs’ allegations. ¶¶ 56, 57, 58. Plaintiffs allege each prong with specificity.

       Unlawful prong. Plaintiffs allege the predicate violation of Plaintiffs’ rights under the DMCA,

satisfying the UCL’s unlawful prong. ¶¶ 34, 55. This well-pled allegation serves to establish an

adequate predicate violation of the UCL. See Rose v. Bank of Am., N.A., 57 Cal. 4th 390, 396 (2013)

(explaining the UCL “‘borrows’ violations of other laws and treats them as unlawful practices’ that the

[UCL] makes independently actionable.”). Meta bases its argument on the same arguments it makes

with respect to the DMCA claim, discussed above. MTD at 17. As shown above, Meta is wrong as to

the DMCA violation. ¶¶ 34, 55; see also Doe 1, 2023 WL 3449131, at *11.

       Unfair prong. Plaintiffs also allege a UCL claim under its “unfair” prong. ¶ 57. A plaintiff

alleges a claim under the “unfair” prong by alleging “immoral, unethical, oppressive, or unscrupulous

[business practice that] causes injury…which outweighs [the utility of the practice].” Nagrampa v.


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MailCoups Inc., No. C03-00208 MJJ, 2007 WL 2221028, at *2 (N.D. Cal. July 30, 2007). Plaintiffs

allege that Meta used Plaintiffs’ works to train LLaMA for Meta’s own gain without authorization.

¶49. Because Meta intentionally removed CMI from copies of Plaintiffs’ works for LLaMA, Meta

acted immorally, unscrupulously, and unethically. “Moral blame attaches to a party’s conduct when

there are ameliorative steps the party could have taken to avert foreseeable harm and the party failed to

take those steps.” Order on Defendants’ Demurrer to Master Complaint at 50, Social Media Cases, No.

JCCP 5255 (Cal., Super. Ct. L.A. Cnty.2023) (“Social Media Cases”) (citing Kuciemba v. Victory

Woodworks, Inc., 14 Cal.5th 993, 1025 (2023)). Since Plaintiffs’ works were distributed without

authorization and no attribution (¶¶ 49, 50), Plaintiffs suffered irreparable harm.

       Fraudulent prong. Plaintiffs allege a violation of the UCL under the “fraudulent prong.” ¶ 58.

Conduct runs afoul of the fraudulent prong when it is “likely to deceive a reasonable consumer.”

Williams v. Gerber Prods. Co., 552 F.3d 934, 938 (9th Cir. 2008). The reasonable consumer standard

“requires a probability ‘that a significant portion of the general consuming public or of targeted

consumers, acting reasonably in the circumstances, could be misled.’” Ebner v. Fresh, Inc., 838 F.3d

958, 965 (9th Cir. 2016). Here, because Meta intentionally developed LLaMA to remove CMI which

would have properly identified the Plaintiffs as owners of copyrighted works, LLaMA’s output

deceives its users. ¶ 52. Since the outputs were not properly attributed to Plaintiffs, reasonable

consumers are misled because Meta concealed the fact that output from LLaMA are infringing. Id.

Further, Meta has not been forthright about which books they used to train LLaMA. ¶¶ 23-32.

               3.      Plaintiﬀs state a claim for unjust enrichment

       In the Ninth Circuit, Plaintiﬀs may pursue a claim for unjust enrichment “as an independent

cause of action or as a quasi-contract claim for restitution.” ESG Cap. Partners, LP v. Stratos, 828 F.3d

1023, 1038 (9th Cir. 2016). Courts in the Ninth Circuit have routinely allowed unjust enrichment

claims under California law. See, e.g., Hart v. TWC Prod. & Tech. LLC, 526 F. Supp. 3d 592, 605

(N.D. Cal. 2021); Wu v. Sunrider Corp., No. CV 17-4825 DSF (SSX), 2017 WL 6880087, at *4 (C.D.

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Cal. Oct. 10, 2017). “To allege unjust enrichment as an independent cause of action, a plaintiﬀ must

show that the defendant received and unjustly retained a beneﬁt at the plaintiﬀ's expense.” ESG Cap.

Partners, 828 F.3d at 1038 (citing Lectodryer v. SeoulBank, 77 Cal. App. 4th 723, 726 (2000)). “A

beneﬁt is broadly deﬁned as ‘any type of advantage.’” CSI Elec. Contractors, Inc. v. Zimmer Am.

Corp., No. CV 12-10876-CAS (AJWx), 2013 WL 1249021, at *5 (C.D. Cal. Mar. 25, 2013); Ghirardo

v. Antonioli, 14 Cal.4th 39, 51 (1996) (same) (citing Restatement (First) of Restitution § 1 cmt. B).

       Here, Plaintiﬀs invested substantial time and energy in creating their books which Meta took

and used to train its LLaMA model, which Meta plans to make (and now is) commercially available.

¶¶ 35, lines 9:7-15.   e taking of Plaintiﬀs’ books without their consent is certainly an advantage—

LLaMA’s value as a product is derived from the work it is trained on. Id. As the Ninth Circuit held in

ESG Capital, all a plaintiff need allege is that the defendant received and unjustly retained a benefit at

the plaintiff’s expense. 828 F.3d at 1038. Plaintiffs need not sustain economic losses or other breach of

contract damages. See Hart, 526 F. Supp. 3d at 605 (permitting unjust enrichment claim even though

plaintiffs “suffered no economic loss from the disclosure of [his] information”). Meta’s contention that

the Plaintiﬀs “do not and cannot allege the required ‘aﬃliation or connection [with Meta] to invoke a

quasi-contract theory of liability’” is wrong. MTD at 19.     e fact that Plaintiﬀs’ copyrighted works are

used by Meta in LLaMA without attribution or compensation is a suﬃcient connection. Were there a

contract, the parties would have been expected to bargain over these rights, including terms of use and

payment. Meta failed to do so. Unjust enrichment provides a remedy for such conduct.

               4.      Plaintiﬀs state a claim for negligence

       Negligence under California law requires: (1) the defendant had a duty, or an “obligation to

conform to a certain standard of conduct for the protection of others against unreasonable risks,” (2)

defendant’s breach of that duty; (3) that breach proximately caused the injuries and, (4) injury. Corales

v. Bennett, 567 F.3d 554, 572 (9th Cir. 2009) (citation omitted).

       Plaintiﬀs have alleged Meta knowingly and intentionally took and scraped Plaintiﬀs’

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intellectual property creating a duty of care. Kuciemba, 14 Cal.5th at 1016 (“Duty, under the common

law, is essentially an expression of policy that the plaintiﬀ’s interests are entitled to legal protection

against the defendant’s conduct”); see also Social Media Cases at 43 (“Because all persons are

required to use ordinary care to prevent others from being injured as the result of their conduct,

Defendants had a duty not to harm the users of Defendants’ platforms through the design and/or

operation of those platforms.”). In so doing, Meta incurred a duty to protect the copyrighted work and

not act in derogation of Plaintiﬀs’ rights. Meta stripped Plaintiﬀs’ works of their CMI to include in a

commercial product (LLaMA) that will enable subscribers, inter alia, to take or adopt Plaintiﬀs’

voices, foreseeably causing them harm and taking away careers and reputations developed over their

lives. ¶¶ 48-53; lines 9:24-10:14; Social Media Cases at 47 (finding foreseeability adequately pled

where “Plaintiffs allege that Defendants were on notice through their own research as well as through

independent medical studies”). Meta breached its duty when it failed to safeguard that information by

aﬃrmatively removing it in training LLaMA. Id. Plaintiﬀs are injured by Meta’s breach and, unless

enjoined by this Court, Plaintiﬀs will continue to suﬀer injury.

        Meta contends that Plaintiﬀs’ claims are “barred by the ‘economic loss doctrine.’” MTD at 20.

But Plaintiﬀs do not seek redress only for economic injuries, but also for injuries that “cannot fully be

compensated or measured in money.” Line 9:18. Plaintiﬀs have also alleged a special relationship.

Kalitta Air, LLC v. Cent. Tex. Airborne Sys., Inc., 315 F. App’x 603, 605 (9th Cir. 2008); see also

J’Aire Corp. v. Gregory, 24 Cal. 3d 799, 804 (1979). Here, a special relationship exists between

Plaintiﬀs and Meta because Plaintiﬀs are the authors of books which Meta intentionally acquired,

ingested, and removed CMI from when training LLaMA—without Plaintiﬀs’ consent. Witriol v.

LexisNexis Grp., No. C05-02392 MJJ, 2006 WL 4725713, at *8 (N.D. Cal. Feb. 10. 2006).

IV.     CONCLUSION
        For the foregoing reasons, Meta’s motion to dismiss should be denied.



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Dated: October 18, 2023                                By: /s/ Joseph R. Saveri
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